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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Consolidated Transaction Processing LLC
                                               Plaintiff,
v.                                                           Case No.: 1:22−cv−02825
                                                             Honorable Joan B. Gottschall
Johnny Was LLC
                                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 21, 2022:


         MINUTE entry before the Honorable Joan B. Gottschall: The parties' agreed
motion [9] for an extension to and including 8/26/2022 of defendant's deadline to answer
or otherwise respond to the complaint is granted. The deadline for the parties to file a joint
initial status report is extended to and including 9/9/2022. Mailed notice(mjc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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